                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


ONSOMBLE, INC.                                )
                                              )
v.                                            ) NO. 3-16-493
                                              ) JUDGE CAMPBELL
MARIA O’ROURKE                                )


                                             ORDER

       Defendant has filed a Notice of Factual Clarification (Docket No. 29) regarding this Court’s

prior Order (Docket No. 28). Plaintiff shall file a Response to Defendant’s Notice by June 10, 2016.

Until that time, the Court’s prior Order (Docket No. 28) and the transfer are held in abeyance.

       IT IS SO ORDERED.


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                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




     Case 3:16-cv-00493 Document 30 Filed 06/06/16 Page 1 of 1 PageID #: 397
